                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - DETROIT


 IN RE:

 Reggie Turner,                                                  Case No. 09-53722-wsd
 Jahada Turner,                                                  Chapter 7
                                                                 Hon. Walter Shapero
             Debtors.
 _____________________________________/

 STATE OF MICHIGAN, DEPARTMENT
 OF ENERGY, LABOR, AND ECONOMIC
 GROWTH, UNEMPLOYMENT
 INSURANCE AGENCY,

          Plaintiff,

 v.                                                              Adv. Pro. No. 09-5413

 REGGIE TURNER,

          Defendant,

 JAHADA TURNER,

       Defendant.
 _____________________________________/

 OPINION REGARDING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

          This matter came before the Court upon Plaintiff Michigan Department of
 Energy, Labor & Economic Growth, Unemployment Insurance Agency’s Motion for
 Summary Judgment seeking certain debts be excepted from discharge pursuant to 11
 U.S.C. §§ 523(a)(2)(A), (a)(2)(B), and (a)(7). Defendants Reggie and Jahada Turner
 filed their Response to the Motion and a hearing was held.

                                                 I.

          Prior to the petition date, Jahada Turner (“Turner”) was employed as a social
 worker at the Lula Belle Service Center. Turner alleges that sometime during January



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 2006, the Director of the Center, along with the Center’s Human Resources Director,
 advised her that the Center was in danger of closing and that she should consider herself
 laid off and apply for benefits with the Unemployment Insurance Agency. Turner further
 alleges that those same individuals advised her that if she continued to provide social
 work services to the Center’s clients, the Center would pay her the difference between
 her salary and the unemployment benefits she received and that such arrangement was
 “perfectly legal.” Thereafter, for the weeks ending January 28, 2006 through July 22,
 2006, Mrs. Turner continued to work as a social worker at Lula Belle Service Center
 while collecting unemployment benefits totaling $8,216 from the State of Michigan.
        On June 18, 2008, the Unemployment Insurance Agency issued its Notice of
 Redetermination finding that Turner had ineligibly received $8,216 as a result of her
 undisclosed employment with the Lula Belle Service Center and determining her acts to
 be intentional. The Notice of Redetermination required that the $8,216 be repaid and
 imposed penalties in the amount of $32,864. Turner had 30 days in which to appeal the
 Notice of Redetermination and she failed to do so.
        On April 30, 2009, Jahada and Reggie Turner filed their voluntary chapter 7
 petition. On July 14, 2009, the Michigan Department of Energy, Labor & Economic
 Growth, Unemployment Insurance Agency instituted this action seeking to have the debts
 excepted from discharge under § 523(a)(2) and (a)(7).

                                              II.

        The Unemployment Insurance Agency argues that the $8,216 in overpayments are
 non-dischargeable pursuant to § 523(a)(2)(A) and (a)(2)(B) and that the $32,864 in
 penalties are non-dischargeable pursuant to § 523(a)(7). The Agency further argues that
 the Redetermination is entitled to preclusive effect in this proceeding.
        The Defendants argue that there is a factual issue which precludes summary
 judgment on the § 523(a)(2) claim, i.e., that Jahada Turner was acting upon the advice of
 her employer and was told what she was doing was “perfectly legal.” Defendants further
 argue that § 523(a)(7) applies to a penalty only if the underlying debt for which the
 penalty has been imposed is itself non-dischargeable. Finally, Defendants argue that
 although Reggie Turner is named as a defendant in this adversary proceeding, there have



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 been no allegations made involving him and the proceeding should be dismissed as to
 him.

                                                 III.

        Fed. R. Bankr. P. 7056 makes Rule 56 of the Federal Rules of Civil Procedure
 applicable to bankruptcy proceedings. Rule 56(c) provides that summary judgment is
 proper “if the pleadings, depositions, answers to interrogatories, and admissions on file,
 together with the affidavits, if any, show that there is no genuine issue as to any material
 fact and that the moving party is entitled to judgment as a matter of law.” The moving
 party bears the initial burden of demonstrating the lack of genuine issues of material fact.
 Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). Once this burden has been met, “the
 burden shifts to the non-moving party to set forth specific facts showing a genuine triable
 issue.” Janda v. Riley-Meggs Industries, Inc., 764 F. Supp. 1223, 1227 (E.D. Mich.
 1991). A “genuine” issue exists and summary judgment is not proper “if the evidence is
 such that a reasonable jury could return a verdict for the nonmoving party.” Berryman v.
 Rieger, 150 F.3d 561, 566 (6th Cir. 1998) (quoting Anderson v. Liberty Lobby, Inc., 477
 U.S. 242, 248 (1986)). The evidence and all inferences to be drawn therefrom, should be
 viewed in the light most favorable to the non-moving party. Duchon v. Cajon Co., 791
 F.2d 43, 46 (6th Cir. 1986).

                                                 IV.

        Under section 727 of the Bankruptcy Code, a debtor may obtain a general
 discharge form all debts that arose before the order for relief. 11 U.S.C. § 727(b).
 However, there are exceptions for certain obligations, including debts for money obtained
 by fraud or by use of a false statement in writing, 11 U.S.C. § 523(a)(2)(A) & (B), and, in
 certain instances, debts to the extent they are “a fine, penalty, or forfeiture payable to and
 for the benefit of a governmental unit.” 11 U.S.C. § 523(a)(7). The party objecting to
 discharge has the “burden of proving by a preponderance of the evidence that a debt is
 excepted from discharge under section 523(a) of the Bankruptcy Code.” Meyer v. IRS (In
 re Meyers), 196 F.3d 622, 624 (6th Cir. 1999).




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        a. Collateral Estoppel Does Not Apply to Redetermination

        The Redetermination which found that Jahada Turner had ineligibly received
 $8,216 as a result of her undisclosed employment was conducted pursuant to MCL §
 421.32a. The Redetermination did not involve a hearing for which Turner was given
 prior notice and an opportunity to appear. It was, in effect, an intra-agency
 administrative determination; Turner’s sole right with regard to which was to appeal it
 within 30 days (or one year in certain circumstances) of receiving notice.
        The doctrines of issue preclusion and claim preclusion, i.e., collateral estoppel
 and res judicata, are applicable to administrative decisions in certain circumstances.
 “When an administrative agency is acting in a judicial capacity and resolves disputed
 issues of fact properly before it which the parties have had an adequate opportunity to
 litigate, the courts have not hesitated to apply res judicata to enforce repose.” Astoria
 Fed. Sav. & Loan Ass'n v. Solimino, 501 U.S. 104, 107 (1991) (quoting United States v.
 Utah Constr. & Mining Co., 384 U.S. 394, 422 (1966)). As the Supreme Court noted in
 University of Tennessee v. Elliott:

        Having federal courts give preclusive effect to the fact-finding of state
        administrative tribunals also serves the value of federalism. Significantly, all of
        the opinions in Thomas v. Washington Gas Light Co., 448 U.S. 261 (1980),
        express the view that the Full Faith and Credit Clause compels the States to give
        preclusive effect to the fact-findings of an administrative tribunal in a sister State.
        Id., at 281 (opinion of STEVENS, J.); 287-289 (WHITE, J., concurring in
        judgment); 291-292 (REHNQUIST, J., dissenting). The Full Faith and Credit
        Clause is of course not binding on federal courts, but we can certainly look to the
        policies underlying the Clause in fashioning federal common-law rules of
        preclusion. “Perhaps the major purpose of the Full Faith and Credit Clause is to
        act as a nationally unifying force,” id., at 289 (WHITE, J., concurring in
        judgment), and this purpose is served by giving preclusive effect to state
        administrative fact-finding rather than leaving the courts of a second forum, state
        or federal, free to reach conflicting results.

 478 U.S. 788, 798-799 (1986).
        In this case, the Redetermination was issued without giving Turner notice or an
 opportunity to appear. In the absence of these occurrences, it cannot fairly be said that
 the Michigan Unemployment Insurance Agency was acting in a judicial capacity.
 Turner’s only opportunity to contest the facts alleged came after the Redetermination -



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 she was never given the opportunity to contest or litigate the factual determinations upon
 which the Redetermination was based prior to the same being issued (indeed there is no
 evidence that she was even made or was aware prior to the ruling that the matter was
 pending).
         Plaintiff, contending that collateral estoppel applies to administrative proceedings
 under Michigan law filed a post-hearing brief in support of its contention wherein it
 pointed to the Michigan Supreme Court’s decision in Roman Cleanser Co. v. Murphy,
 386 Mich. 698 (Mich. 1972). The facts of that case are readily distinguishable from those
 present here, most notably, the party that was estopped in that case had notice of the
 proceedings, and indeed objected to the claim, prior to the decision. Here, Turner was
 never provided notice of the Redetermination hearing or given an opportunity to contest
 the matter before a decision was entered. Accordingly, collateral estoppel and res
 judicata are not applicable.

         b. 11 U.S.C. § 523(a)(2)

         Section 523(a)(2)(A) & (B) provides:

         (a) A discharge under section 727 . . . does not discharge an individual debtor
         from any debt –

                 (2) for money, property,1 services, or an extension, renewal, or refinancing
         of credit, to the extent obtained by –

                          (A) false pretenses, a false representation, or actual fraud, other
                  than a statement respecting the debtor’s or an insider’s financial condition;

                           (B) use of a statement in writing –

                                    (i) that is materially false;

                                  (ii) respecting the debtor’s or an insider’s financial
                           condition;



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   The term “property” as used in section 523(a)(2)(A) “denotes something subject to ownership, transfer, or
 exclusive possession and enjoyment, which may be brought within the dominion and control of a court
 through some recognized process. Gleason v. Thaw, 236 U.S. 558 (1915).




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                                  (iii) on which the creditor to whom the debtor is liable for
                            such money, property, services, or credit reasonably relied; and

                                    (iv) that the debtor caused to be made or published with
                            intent to deceive.

 Subsections (A) and (B) are mutually exclusive. A claim based on false financial
 statements must be brought under subsection (B) and the special conditions set forth in
 subsection (B) must be met. Collier on Bankruptcy, ¶ 523.08[1] at 523-42.1.
          In this matter, Plaintiff attempts to proceed under § 523(a)(2)(A) and §
 523(a)(2)(B), despite the fact that subsections (A) and (B) are mutually exclusive. When
 the Court inquired at the hearing as to which written statements concerning Turner’s
 financial condition were being relied upon for the § 523(a)(2)(B) claim, Plaintiff’s
 counsel informed that Turner had stated in writing that she was not presently employed.
 Putting aside for the moment the fact that the Plaintiff has failed to bring forth any actual
 documentation of such a written statement by Turner (or explanation for the absence of
 such), even if it had, it is rather doubtful that such would constitute a statement in writing
 respecting financial condition for purposes of § 523(a)(2)(B).2

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   Courts have not settled on a uniform construction of what constitutes a statement of “financial condition”
 so as to be within Subsection B. See, e.g., In re Bonefas, 41 B.R. 74 (Bankr. N.D. Iowa 1984) (To
 constitute written statement respecting financial condition of debtor under 11 U.S.C. § 523(a)(2)(B) there
 must be combined entries stating income, assets, and/or debts; single statement that debtor made $ 1,700
 monthly is not financial statement.); Am. Nat'l Bank v. Dalcourt (In re Dalcourt), 354 B.R. 868 (Bankr.
 N.D. Iowa 2006) (Where bank contended that its claim against debtor was excepted from discharge
 pursuant to either 11 U.S.C. § 523(a)(2)(A) or 523(a)(2)(B), bank's claim, to be excepted from discharge,
 had to be excepted under 11 U.S.C. § 523(a)(2)(B) because credit application for vehicle financing was
 statement in writing respecting debtor's financial condition and, coupled with credit bureau report,
 application provided overall view of debtor's ability to pay debt.); Signet Bank/Virginia v. Hale, 139 B.R.
 41 (Bankr. M.D. Fla. 1992) (Credit-card debt cannot be excepted from discharge under 11 U.S.C. §
 523(a)(2)(B) because credit-card application is not statement respecting debtor's financial condition as it
 does not require any information regarding debtor's liabilities and nothing regarding his assets, except that
 he owned rather than rented his home.); First Int'l Bank v. Kerbaugh (In re Kerbaugh), 162 B.R. 255
 (Bankr. D.N.D. 1993) (Credit application qualifies as statement made in writing respecting Chapter 7
 debtors' financial condition, although ostensibly written solely by debtor husband, where it was signed by
 both debtors, application which served as central component in decision for extension of credit required
 debtors to provide “true and complete” information regarding their monthly income, monthly rental
 payments, and credit information portraying both aggregate and monthly payments on individual
 indebtedness; although credit application neither portrayed nor required financial particularity of financial
 statement such as balance sheet or profit and loss statement, such requirement is not imposed by mandates
 of 11 U.S.C. § 523(a)(2)(B); credit application, which was held out by debtors as something on which bank
 should rely, permits realistic assessment of debtors' creditworthiness and financial capacity by virtue of
 disclosure of income and indebtedness.); Lazaron v. Lucas (In re Lucas), 386 B.R. 332 (Bankr. D.N.M.
 2008) (Statement regarding debtor's employment was certainly relevant to his apparent ability to pay rent,
 but did not represent his overall financial condition where residential rental application did not purport to


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          With regard to Plaintiff’s § 523(a)(2)(A) theory, a necessary element is fraudulent
 intent. Intent, under the Sixth Circuit Court of Appeals decision in Rembert v. AT&T
 Universal Card Servs. (In re Rembert), 141 F.3d 277, 281 (6th Cir. 1998), is measured
 subjectively. A debtor intends to deceive a creditor “when the debtor makes a false
 representation which the debtor knows or should have known would induce another to
 advance goods or services to the debtor.” Bernard Lumber Co. v. Patrick (In re Patrick),
 265 B.R. 913, 916 (Bankr. N.D. Ohio 2001). Fraudulent intent requires an actual intent
 to mislead, which is more than mere negligence. . . A ‘dumb but honest’ [debtor] does not
 satisfy the test.” Palmacci v. Umpierrez, 121 F.3d 781, 788 (1st Cir. 1997) (citations
 omitted). A debtor’s fraudulent intent

          may be inferred from the totality of the circumstances. The bankruptcy court
          must consider whether the totality of the circumstances’ presents a picture of
          deceptive conduct by the debtor which indicates an intent to deceive the creditor.’
          The court may consider not only the debtor’s conduct at the time of the
          representations, but may consider subsequent conduct, to the extent that it
          provides an indication of the debtor’s state of mind at the time of the actionable
          representations.

 Wolf v. McGuire (In re McGuire), 284 B.R. 481, 492 (Bankr. D. Col. 2002) (quoting
 Groetken v. Davis (In re Davis), 246 B.R. 646, 652 (10th Cir. BAP 2000) (citations
 omitted)). As the court in Haney v. Copeland (In re Copeland), 291 B.R. 740 (Bankr.
 E.D. Tenn. 2003) explained:
          Proving the Debtor’s intent to defraud is similar to proving the Debtor’s
          knowledge and/or recklessness as to the falsity of the representations made.
          Because intent is a purely subjective question, the court must examine the totality
          of the Debtor’s actions to determine if she possessed the requisite intent to
          deceive the Plaintiffs. Any benefit of the doubt must be resolved in favor of the
          Debtor, as § 523(a)(2) is strictly construed in her favor.

 (citations omitted).
          In this matter, Turner claims to have acted under the belief that her actions were
 “perfectly legal.” This raises a genuine issue of material fact as to whether Turner
 intended to defraud the Unemployment Insurance Agency in her representations to it.

 reflect all of his assets and liabilities; it provided information about certain aspects of his financial
 condition, but because it did not present overall picture of his net worth, it did not fall within narrow scope
 of “statements respecting debtor's financial condition.”).



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 The existence of a genuine issue of material fact requires that the Court deny summary
 judgment as to the amounts sought to be excepted from discharge under § 523(a)(2)(A).

        c. 11 U.S.C. § 523(a)(7)

        Plaintiff seeks to except the $32,864 in penalties pursuant to § 523(a)(7). For a
 debt to be excepted from discharge under § 523(a)(7), it must be a penalty which:

        (1) arise[s] as a punishment or sanction for some type of wrongdoing by the
        debtor and not merely be an enhanced monetary remedy for what is essentially a
        breach of contract; (2) [is not] compensation for actual pecuniary loss; (3) [is]
        payable to a governmental unit; and (4) [is] for the benefit of a governmental unit.

 4-523 Collier on Bankruptcy P 523.13.
        All of the above elements are present in this case. The debt arose as a penalty for
 wrongfully receiving unemployment benefits. It is not compensation for the actual
 pecuniary loss (which is covered by the ordered repayment of the $8,216 received); it is
 payable to a governmental unit, i.e., Michigan Department of Energy, Labor & Economic
 Growth, Unemployment Insurance Agency; and it is for the benefit of that governmental
 unit. There is no genuine issue as to any of these facts.
        In her Response brief, Turner asserts that § 523(a)(7) applies to a penalty only if
 the underlying debt for which the penalty has been imposed is itself non-dischargeable.
 The case she cites in support, however, In re Tauscher, 7 B.R. 918, 920 (Bankr. E.D.
 Wis. 1981) does not stand for such a proposition. That case, which dealt with penalties
 arising from child labor law violations, stated with regard to the issue:

        Tauscher has referred to that portion of § 523(a)(7) which provides that tax
        penalties are nondischargeable only if the underlying tax is itself
        nondischargeable. He argues that since the back wages were admittedly
        dischargeable, the administrative penalties should also be discharged. The
        difficulty with the argument is that back wages are not taxes so as to be covered
        by that language in § 523(a)(7). Furthermore, the child labor penalties are
        independent of and not related to the claim for unpaid wages. This court believes
        and does find that the penalties here in dispute are not dischargeable.

 In re Tauscher, 7 B.R. at 920. While case law on the issue is rather sparse, the authority
 the Court was able to find in its research indicates that certain penalties are non-



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 dischargeable under § 523(a)(7) regardless of whether a related debt is itself
 dischargeable. See, e.g., In re Carracino, 53 B.R. 513 (Bankr. D.N.J. 1985) (fines
 imposed for water pollution not dischargeable under § 523(a)(7), though debt owed to
 reimburse state for cleaning up river was dischargeable).
         The word “penalty” is commonly defined as a term which “involves the idea of
 punishment, corporeal or pecuniary, or civil or criminal, although its meaning is
 generally confined to pecuniary punishment.” Black’s Law Dictionary (5th ed. 1979).
 The statutory language which specifically excludes from its purview actual pecuniary
 loss reinforces a penalty’s separation for purposes of § 523(a)(7) from any associated
 loss. In this case, that associated loss would be the underlying obligation that Turner
 argues is a defense if it is itself dischargeable. It is likely that in many if not most cases
 where pecuniary “penalties” are imposed, they are in addition to and either calculated in
 reference to, or as an overlay upon, some underlying damages or compensation.
 Regardless, in the absence of some clear legislative history or strong public policy
 indicating otherwise (neither of which has been pointed to in this case), one should not
 interpret or read into a statute a meaning that would appear to contravene its basic
 purpose and /or eliminate or materially narrow its application.
         The $32,864 in penalties clearly satisfying the elements of § 523(a)(7) and the
 Court will award summary judgment as to that portion of the debt.

         d. Dismissal of this Proceeding as to Reggie Turner

         As Defendants point out in their Response, Plaintiff fails to make any allegations
 regarding named defendant Reggie Turner. Given that Defendants’ request that Reggie
 Turner be dismissed from the suit came in their Response and not in an affirmative
 motion for summary judgment (to which Plaintiff would have to respond), the Court will
 not at this time order that Reggie Turner be dismissed from this proceeding. The Court
 will, however, remind counsel of the duties imposed by Bankruptcy Rule 9011 and the
 Rules of Professional Conduct, etc. and caution that a party should not unnecessarily be
 kept in a lawsuit after such point it becomes clear that there is not a factual or legal basis
 to warrant such.




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                                               V.

         For the reasons set forth above, the Court will deny summary judgment as to
  Plaintiff’s § 523(a)(2) claim for the $8,216 in overpayments and grant summary
  judgment in favor of Plaintiff as to the § 523(a)(7) for the $32,864 in penalties.
         Plaintiff shall present an appropriate order.
                                                .

  Signed on March 05, 2010
                                            ____ __/s/ Walter Shapero_    ___
                                               Walter Shapero
                                               United States Bankruptcy Judge




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